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                                            IN THE UNITED STATES BANKRUPTCY COURT
                                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                                         Richmond Division
                         IN RE

                         ROSA TRENT STOKES                              Case No. 19-31673-KLP
                                                                        Chapter 7
                              Debtor
                         SPECIALIZED LOAN SERVICING LLC
                         8742 Lucent Blvd.
                         Suite 300
                         Highlands Ranch, CO 80129
                                                                        Motion No.
                              Movant
                         v.

                         ROSA TRENT STOKES
                         200 Poplar Forest Rd
                         Apt D
                         Farmville, VA 23901

                         and

                         HARRY SHAIA, JR
                         CHAPTER 7 TRUSTEE
                         Spinella, Owings & Shaia, PC
                         8550 Mayland Drive
                         Richmond, VA 23294

                              Respondents

                                            MOTION FOR RELIEF FROM AUTOMATIC STAY
                               COMES NOW, Specialized Loan Servicing LLC, its successors and/or
                         assigns, movant, by its attorneys, Mark D. Meyer, Esq., and Rosenberg &
                         Associates, LLC, and respectfully represents as follows:
    MARK MEYER                   1. Jurisdiction is based on 11 U.S.C. Section 362(d)-(f).
   DC BAR 475552
   MD BAR 15070
   VA BAR 74290
                               2. On or about March 28, 2019, Rosa Trent Stokes ("Debtor") filed a
     ROSENBERG &
   ASSOCIATES, LLC       Voluntary Petition in the Court under Chapter 7 of the Bankruptcy Code.
4340 East West Highway
       SUITE 600
 BETHESDA, MD 20814
    (301) 907-8000
                                 3. Harry Shaia, Jr is the Chapter 7 trustee of the Debtor's estate.
 FILE NUMBER: 75122

                               4. At the time of the initiation of these proceedings, the Debtor owned a
                         parcel of fee simple real estate improved by a residence with a legal description of
                         "LAND REFERRED TO IN THIS COMMITMENT IS DESCRIBED AS ALL THAT
                         CERTAIN PROPERTY SITUATED IN THE CITY OF CUMBERLAND IN THE
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                         COUNTY OF CUMBERLAND, AND STATE OF VIRGINIA AND BEING
                         DESCRIBED IN A DEED DATED 03/10/1992 AND RECORDED 03/12/1992 IN
                         BLOCK 188 PAGE 26 AMONG THE LAND RECORDS OF THE COUNTY AND
                         STATE SET FORTH ABOVE, AND REFERENCED AS FOLLOWS: THAT
                         CERTAIN PARCEL OF LAND IN MADISON MAGISTERIAL DISTRICT,
                         CUMBERLAND COUNTY, VIRGINIA CONTAINING 0.79 ACRES, AS SHOWN ON
                         PLAT OF SURVEY, MADE JANUARY 28, 1993, BY RALPH P. HINES, C.L.S., A
                         COPY OF WHICH PLAT IS ATTACHED TO AND MADE A PART OF THIS DEED.
                         THIS LOT IS THEREON DESCRIBED AS FOLLOWS: BEGINNING AT A POINT
                         ON MARGIN OF STATE ROUTE 600, MARKED BY A SET IRON ONLINE,
                         CORNER WITH VIRGINIA R. JENKINS, THENCE WITH SAID ROUTE 600 A
                         CURVE, ARC 160.72', RADIUS 492.47', DELTA 18 DEGREES 41' 57" AND
                         CHORD 160.01", S. 50 DEGREES 21' 55" E.; THENCE S. 15 DEGREES 02' 00"
                         W. 227.30' TO A SET IRON WITH METAL FENCE POST; THENCE METAL N. 74
                         DEGREES 58' 00" N. 128.00' TO A SET IRON WITH METAL FENCE POST;
                         THENCE N. 11 DEGREES 37' 45" E. 294.43' ALONG CENTER OF OLD ROAD
                         TO THE POINT OF BEGINNING, MARKED BY SAID SET IRON ON LINE AT
                         281.9'. BEING A PORTION OFA 32 ACRE PARCEL PARTITIONED TO JAMES
                         OTIS TRENT BY PARTITION DEED DATED JUNE 6, 1991, FROM LEE CRUMP,
                         ET AL, WHICH DEED IS TO BE RECORDED IN THE CLERK'S OFFICE OF THE
                         CIRCUIT COURT OF CUMBERLAND COUNTY, VIRGINIA PRIOR TO THIS DEED
                         OF GIFT. COMMONLY KNOWN AS: 270 STONEY POINT RD, CUMBERLAND,
                         VA 23040" also known as 270 Stoney Point Road, Cumberland, VA 23040
                         (hereinafter "the subject property").
                               5. The subject property is encumbered by a Deed of Trust securing the note,
                         which is currently held by the movant. The documents evidencing the movant's
                         security interest are attached hereto.

                                6. Specialized Loan Servicing LLC services the loan on the Property
                         referenced in this Motion. In the event the automatic stay in this case is modified,
                         this case dismisses, and/or the Debtor obtains a discharge and a foreclosure action
                         is commenced on the mortgaged property, the foreclosure will be conducted in the
                         name of Movant or Movant’s successor or assignee. Movant, directly or through an
                         agent, has possession of the Note. The Note is either made payable to Movant or
                         has been duly endorsed. Movant is the original mortgagee or beneficiary or the
                         assignee of the Mortgage/Deed of Trust.

    MARK MEYER                  7. The total amount due under the Deed of Trust securing the Movant as of
   DC BAR 475552
   MD BAR 15070
                         April 9, 2019, including attorney's fees and court costs, is approximately $32,788.62.
   VA BAR 74290

     ROSENBERG &               8. The Debtor is in default under the Deed of Trust, and the Movant has
   ASSOCIATES, LLC
4340 East West Highway   accelerated the entire balance of the Note and Mortgage and interest continues to
       SUITE 600
 BETHESDA, MD 20814      accrue.
    (301) 907-8000
 FILE NUMBER: 75122
                               9. The Debtor is behind in his/her monthly mortgage payments, and equity in
                         the Debtor's residence is dissipating.

                               10. The Movant lacks adequate protection of its interest in the subject
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                         property.
                                 11. The Movant has been and continues to be irreparably injured by the stay
                         of Section 362 of the Bankruptcy Code, which prevents the Movant from enforcing
                         its rights under the Note and Deed of Trust.

                               12. Cause exists for lifting the automatic stay imposed by Section 362 of the
                         Bankruptcy Code to enable the Movant to enforce its rights under its Note and
                         Deed of Trust.
                               WHEREFORE, the Movant, Specialized Loan Servicing LLC its successors
                         and/or assigns, respectfully requests that this Honorable Court:

                                 1. Enter an order terminating the automatic stay imposed by Section 362 of
                         the Bankruptcy Code to enable it to proceed with a foreclosure sale, accept a deed
                         in lieu or agree to a short sale of the real property and improvements located at 270
                         Stoney Point Road, Cumberland, VA 23040; and

                               2. Grant such other and further relief as may be just and necessary.

                                                              ___________________________________
                                                              /s/ Mark D. Meyer, Esq.
                                                              Mark D. Meyer, Esq.
                                                              VA Bar 74290

                                                              Rosenberg & Associates, LLC
                                                              4340 East West Highway, Suite 600
                                                              Bethesda, MD 20814
                                                              301-907-8000




    MARK MEYER
   DC BAR 475552
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   ASSOCIATES, LLC
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                                                      CERTIFICATE OF SERVICE
                                I hereby certify that on the 12th day of April, 2019, I reviewed the Court’s
                         CM/ECF system and it reports that an electronic copy of the foregoing Motion for
                         Relief from the Automatic Stay will be served electronically by the Court’s CM/ECF
                         system on the following:

                         Harry Shaia, Jr, Trustee

                         Mary-Scott Gates Hennigan, Esquire

                                I hereby further certify that on the 12th day of April, 2019, a copy of the
                         foregoing Motion for Relief from the Automatic Stay was also mailed first class
                         mail, postage prepaid to:

                         Rosa Trent Stokes
                         200 Poplar Forest Rd
                         Apt D
                         Farmville, VA 23901
                                                                ___________________________________
                                                                /s/ Mark D. Meyer, Esq.
                                                                Mark D. Meyer, Esq.




    MARK MEYER
   DC BAR 475552
   MD BAR 15070
   VA BAR 74290

     ROSENBERG &
   ASSOCIATES, LLC
4340 East West Highway
       SUITE 600
 BETHESDA, MD 20814
    (301) 907-8000
 FILE NUMBER: 75122
